
PER CURIAM.
Claimant/Williamson appeals from an order of the deputy commissioner deauthoriz-ing Dr. Wylie, the claimant’s treating psychiatrist, who had treated the claimant for a period of five years. Measured by the standard articulated in Cal Koven’s Construction v. Lott, 473 So.2d 249 (Fla. 1st DCA 1985) and Gephart v. Certified Grocers, 482 So.2d 420 (Fla. 1st DCA 1985), the order, insofar as it deauthorized Dr. Wylie, is not supported by competent, substantial evidence and is therefore REVERSED.
MILLS, ERVIN and NIMMONS, JJ., concur.
